          Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 1 of 15




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                            )
In re:                                                      )        Chapter 11
                                                            )
CURO Group Holdings Corp., et al.,                          )        Case No. 24-90165 (MI)
                                                            )
                                    Debtors.1               )        (Joint Administration Requested)
                                                            )        (Emergency Hearing Requested)

           DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM
         AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO PAY
    CERTAIN CRITICAL VENDOR CLAIMS AND (II) GRANTING RELATED RELIEF
         Emergency relief has been requested. Relief is requested not later than 1:30 p.m. (prevailing
         Central Time) on March 25, 2024.
         If you object to the relief requested or you believe that emergency consideration is not
         warranted, you must appear at the hearing if one is set, or file a written response prior to the
         date that relief is requested in the preceding paragraph. Otherwise, the Court may treat the
         pleading as unopposed and grant the relief requested.
         A hearing will be conducted on this matter on March 25, 2024, at 1:30 p.m. (prevailing Central
         Time) in Courtroom 404, 4th Floor, 515 Rusk Street, Houston, TX 77002. Participation at the
         hearing will only be permitted by audio and video connection.
         Audio communication will be by use of the Court’s dial-in facility. You may access the facility
         at 832-917-1510. Once connected, you will be asked to enter the conference room number.
         Judge Isgur’s conference room number is 954554. Video communication will be by use of the
         GoToMeeting platform. Connect via the free GoToMeeting application or click the link on
         Judge Isgur’s home page. The meeting code is “JudgeIsgur”. Click the settings icon in the
         upper right corner and enter your name under the personal information setting.
         Hearing appearances must be made electronically in advance of both electronic and in-person
         hearings. To make your appearance, click the “Electronic Appearance” link on Judge Isgur’s
         home page. Select the case name, complete the required fields and click “Submit” to complete
         your appearance.




1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/Curo. The location of the Debtors’ service address
     for purposes of these chapter 11 cases is 101 N. Main Street, Suite 600, Greenville, SC 29601.
        Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 2 of 15




        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this emergency motion (the “Motion”):

                                         Relief Requested

        1.      By this Motion, the Debtors seek entry of interim and final orders, substantially in

the forms attached hereto (respectively, the “Interim Order” and the “Final Order”): (i) authorizing

the Debtors to pay certain prepetition claims held by certain essential Critical Vendors (as defined

herein), as well as to settle disputes related thereto, each in the ordinary course of business; and

(ii) granting related relief.

                                     Jurisdiction and Venue

        2.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent to the entry of a

final order by the Court.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The bases for the relief requested herein are sections 105(a), 363, 1107 and 1108 of

title 11 of the United States Code (the “Bankruptcy Code”), Rules 6003 and 6004 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 9013-1 of the Local Bankruptcy

Rules for the Southern District of Texas (the “Bankruptcy Local Rules”), and the Procedures for

Complex Cases in the Southern District of Texas.

                                           Background

        5.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

businesses and managing their properties as debtors in possession pursuant to Bankruptcy Code




                                                 2
        Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 3 of 15




sections 1107(a) and 1108. Concurrently with the filing of this Motion, the Debtors filed a motion

requesting procedural consolidation and joint administration of these chapter 11 cases

(the “Chapter 11 Cases”) pursuant to Bankruptcy Rule 1015(b). No request for the appointment

of a trustee or examiner has been made in these Chapter 11 Cases, and no official committees have

been appointed or designated.

       6.      The Debtors and their non-Debtor affiliates (collectively, the “Company”) provide

consumer credit lending services across the U.S. and Canada. In the U.S., the Company operates

under several principal brands, including “Heights Finance,” “Southern Finance,” “Covington

Credit,” “Quick Credit,” and “First Heritage Credit.” In Canada, the Company operates under the

“Cash Money” and “LendDirect” brands.         As of the Petition Date, the Company operated

approximately 400 store locations across 13 U.S. states and approximately 150 stores in eight

Canadian provinces and had an online presence in eight Canadian provinces and one territory. The

Company generated approximately $672 million in total revenue for the fiscal year 2023, and, as

of the Petition Date, the Company had approximately $2.1 billion in aggregate principal amount

of prepetition funded debt obligations.

       7.      A description of the Debtors and their businesses, and the facts and circumstances

supporting this Motion, are set forth in the Declaration of Douglas Clark in Support of Chapter

11 Petitions and First Day Motions (the “First Day Declaration”), filed contemporaneously with

this Motion and incorporated by reference herein.

                      The Debtors’ Process to Identify Critical Vendors

       8.      The Debtors’ businesses rely on continuing access to, and relationships with, a

network of vendors and service providers. Recognizing that payment of all prepetition claims of

such third-party vendors outside of a plan would be extraordinary relief, the Debtors, with the



                                                3
        Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 4 of 15




assistance of their advisors, reviewed their books and records, consulted operations management

on the corporate and branch level, reviewed contracts and supply agreements and analyzed

applicable laws, regulations, and historical practices to identify only those vendors that are critical

to the continued and uninterrupted operation of the Debtors’ ongoing projects―the loss of which

could materially harm their businesses, by, among other things, reducing their enterprise value to

the detriment of the Debtors and their stakeholders. Specifically, in identifying the vendors critical

to their businesses, the Debtors examined each of their vendor relationships with, among other

things, the following criteria in mind:

              whether certain specifications or contract requirements prevent, directly or
               indirectly, the Debtors from obtaining services from alternative sources;

              whether a vendor is a sole-source, limited-source, or high-volume supplier of
               the services critical to the Debtors’ business operations;

              whether an agreement exists by which the Debtors could compel a vendor to
               continue performing on prepetition terms;

              whether alternative vendors are available that can provide requisite volumes of
               similar services on equal (or better) terms and, if so, whether the Debtors would be
               able to continue operating while transitioning business thereto;

              the degree to which replacement costs (including pricing, transition expenses,
               professional fees, and lost sales or future revenue) exceed the amount of a vendor’s
               prepetition claim;

              whether the Debtors’ inability to pay all or part of the vendor’s prepetition claim
               could trigger financial distress for the applicable vendor;

              the likelihood that a temporary break in the vendor’s relationship with the Debtors
               could be remedied through use of the tools available in these Chapter 11 Cases;

              whether failure to pay all or part of a particular vendor’s claim could cause the
               vendor to refuse to provide critical services on a postpetition basis;

              the location and nationality of the vendor;

              whether failure to pay a particular vendor could result in contraction of trade terms
               as a matter of applicable non-bankruptcy law or regulation; and


                                                  4
         Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 5 of 15




                   whether a vendor is also a customer who could cease purchasing the Debtors’
                    services.

         9.         In addition to these factors, the Debtors and their advisors examined the health of

each vendor relationship, the vendor’s familiarity with the chapter 11 process and the extent to

which each vendor’s prepetition claims could be satisfied elsewhere in the chapter 11 process.

I.       The Critical Vendors.

         10.        As a result of the foregoing review and evaluation, the Debtors have identified, and

will continue to identify, a narrow subset of vendors and services that are critical to preserving the

value of the Debtors’ estates and ensuring a seamless transition into chapter 11 (collectively, the

“Critical Vendors”). Many of the Critical Vendors identified provide services that support the core

of the Debtors’ businesses: approximately 550 retail locations (as of Petition Date) across 13 states

and eight Canadian provinces which provide consumer lending services, all of which are leased

premises that the Debtors occupy completely or for which the Debtors have a lease or license to

use partially (the “Retail Locations”). Successfully operating these Retail Locations to meet the

needs of the Debtors’ customers on an uninterrupted basis requires, among other things, continuous

access         to     (i) network     connections     and     telecommunication       services,     and

(ii) uninterrupted relationships with a broad range of vendors and service providers, such as credit

report bureaus, accounting software firms, marketing service providers, financial software

providers, and security service providers—both physical security for the premises and cloud

security for the software. Equally important, the Debtors also engage with various vendors to

ensure the software used by the Retail Locations is properly maintained.

         11.        The majority of these vendors have arrangements providing services to many of the

Debtors’ Retail Locations under a single agreement. Thus, failure to render payment to a provider

could result in service interruptions to the Debtors’ customers at multiple Retail Locations. The


                                                     5
        Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 6 of 15




Company’s reputation is crucial to maintaining and developing relationships with existing and

potential customers and third parties with whom the Company does business. If multiple Retail

Locations are unable to operate and provide lending services because of business interruptions,

even if temporary, the Company’s ability to attract customers and generate new business would be

severely disrupted, driving potential customers to competitors. The Critical Vendors are necessary

to support the Debtors’ infrastructure and allow the Debtors to continue their day-to-day

operations.

       12.     Based on the forgoing, the Debtors seek entry of the Interim Order and the Final

Order granting them authority to make payments, in their reasonable discretion and business

judgment, on account of the prepetition claims held by Critical Vendors (the “Critical Vendor

Claims”) in an amount not to exceed $1.5 million on an interim basis and $3 million on a final

basis, which amounts represent the Debtors’ best estimate as to what amounts must be paid to the

Critical Vendors to continue uninterrupted provision of services. The Debtors further request that

the Court grant the Debtors the authority to allocate the foregoing amounts at their discretion,

without prejudice to seek additional relief, and subject to an agreement (within the Debtors’

discretion) to receive terms consistent with Customary Trade Terms (as defined herein) from the

Critical Vendors.

       13.     In the exercise of their business judgment, the Debtors have determined that

continuing to receive services from the Critical Vendors is necessary to operate and continue

certain ongoing projects. If granted discretion to satisfy Critical Vendor Claims as requested

herein, the Debtors will assess, on a case-by-case basis, the benefits to their estates of paying the

Critical Vendor Claims and pay any such claim only to the extent their estates will benefit from

payment during the pendency of the Chapter 11 Cases. Without this relief, the Debtors believe



                                                 6
        Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 7 of 15




that the Critical Vendors may cease providing certain critical services and thereby take action that

could harm the Debtors’ estates to the detriment of their stakeholders.

       14.     Finally, under the proposed Plan, the Critical Vendor Claims (which are classified

as General Unsecured Claims, as defined in Plan), to the extent allowed, are unimpaired, and the

holders of such claims will receive payment in full upon the effective date of the Plan. As such,

the Debtors seek authority to pay Critical Vendors amounts that they would be entitled to receive

upon consummation of the Plan.

II.    Customary Trade Terms.

       15.     Subject to the Court’s approval, the Debtors intend to pay Critical Vendor Claims

only to the extent necessary to preserve the value of their estates. To that end, in return for paying

Critical Vendor Claims either in full or in part, the Debtors propose that they be authorized to

require that Critical Vendors provide favorable trade terms for the postpetition procurement of

services.

       16.     Specifically, the Debtors seek authorization, to condition payment of Critical

Vendor Claims upon each Critical Vendor’s agreement to continue, or recommence, their trade

relationship with the Debtors in accordance with trade terms (including credit limits, pricing,

timing of payments, availability, and other terms) consistent with the parties’ ordinary course

practice or as otherwise agreed to by the Debtors in their reasonable business judgment (the

“Customary Trade Terms”). The Debtors also seek authorization, but not direction, to require

Critical Vendors to enter into a contractual agreement (an email agreement being sufficient)

evidencing such Customary Trade Terms, a form of which is annexed hereto as Exhibit A

(the “Trade Terms Agreement”).

       17.     In addition, the Debtors request that if any party accepts payment pursuant to the

relief requested by this Motion and thereafter ceases to provide services in accordance with the
                                                  7
        Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 8 of 15




Customary Trade Terms: (a) the Debtors may take any and all appropriate steps to recover from

such Critical Vendor any payments made to it on account of its prepetition claim to the extent that

such payments exceed the postpetition amounts then owing to such party; (b) upon recovery by

the Debtors, any prepetition claim of such party shall be reinstated as if the payment on account

thereof had not been made; and (c) if any outstanding postpetition balance is due from the Debtors

to such party, (i) the Debtors may elect to recharacterize and apply any payment made pursuant to

the relief requested by this Motion to such outstanding postpetition balance, and (ii) such party

will be required to repay to the Debtors such paid amounts that exceed the postpetition obligations

then outstanding without the right of any setoffs, claims, provisions for payment of any claims or

otherwise.

                                         Basis for Relief

I.     The Court Should Grant the Relief Requested in this Motion Pursuant to Bankruptcy
       Code Sections 105(a) and 363.

       18.     Courts have recognized that it is appropriate to authorize the payment of prepetition

obligations, including payments to critical vendors, where necessary to protect and preserve the

estate. E.g., Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 985 (2017) (noting that courts

“have approved . . . ‘critical vendor’ orders that allow payment of essential suppliers’ prepetition

invoices”); In re Scotia Dev., LLC, 2007 Bankr. LEXIS 3262, at*7-8 (Bankr. S.D. Tex. Sept. 21,

2007) (outlining the factors for when a critical vendor payment is necessary); In re Just for Feet,

Inc., 242 B.R. 821, 826 (D. Del. 1999) (finding that payment of prepetition claims to certain trade

vendors was “essential to the survival of the debtor during the chapter 11 reorganization”); In re

Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (“The ability of a bankruptcy

court to authorize the payment of pre-petition debt when such payment is needed to facilitate the

rehabilitation of the debtor is not a novel concept.”). In so doing, these courts acknowledge that


                                                 8
        Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 9 of 15




several legal theories rooted in Bankruptcy Code sections 105(a) and 363(b) support the payment

of prepetition claims as provided herein.

       19.     Pursuant to Bankruptcy Code section 363(b), payment of prepetition obligations

may be authorized where a sound business purpose exists for doing so. See Ionosphere Clubs, 98

B.R. at 175 (noting that Bankruptcy Code section 363(b) provides “broad flexibility” to authorize

a debtor to honor prepetition claims where supported by an appropriate business justification).

Indeed, courts have recognized that there are instances when a debtor’s fiduciary duty can “only

be fulfilled by the preplan satisfaction of a prepetition claim.” In re CoServ, L.L.C., 273 B.R. 487,

497 (Bankr. N.D. Tex. 2002).

       20.     In addition, the Court may authorize payment of prepetition claims in appropriate

circumstances based on Bankruptcy Code section 105(a), which codifies the Court’s inherent

equitable powers to “issue any order, process[] or judgment that is necessary or appropriate to

carry out the provisions of this title.” Under Bankruptcy Code section 105(a), courts may authorize

pre-plan payments of prepetition obligations when essential to the continued operation of a

debtor’s business. See Just for Feet, 242 B.R. at 825. Specifically, the Court may use its equitable

power under Bankruptcy Code section 105(a) to authorize payment of prepetition obligations

pursuant to the “necessity of payment” rule (also referred to as the “doctrine of necessity”).

Ionosphere Clubs, 98 B.R. at 176. Indeed, courts have recognized that it is appropriate to authorize

the payment of prepetition obligations where necessary to protect and preserve the estate. E.g.,

CoServ, 273 B.R. at 497 (“Cases cited by Debtors that refer to necessity of payment to preserve

value imply such a rule, and this Court is prepared to apply the Doctrine of Necessity to authorize

payment of prepetition claims in appropriate cases.”).




                                                 9
       Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 10 of 15




       21.     Moreover, pursuant to Bankruptcy Code sections 1107(a) and 1108, debtors in

possession are fiduciaries “holding the bankruptcy estate[s] and operating the business[es] for the

benefit of [their] creditors and (if the value justifies) equity owners.” CoServ, 273 B.R. at 497.

Implicit in the fiduciary duties of any debtor in possession is the obligation to “protect and preserve

the estate, including an operating business’s going-concern value.” Id. Some courts have noted

that there are instances in which a debtor can fulfill this fiduciary duty “only . . . by the preplan

satisfaction of a prepetition claim.” Id. The court in CoServ specifically noted that pre-plan

satisfaction of prepetition claims would be a valid exercise of the debtor’s fiduciary duty when the

payment “is the only means to effect a substantial enhancement of the estate . . . .” Id.

       22.     The Debtors have a sound business purpose for the relief requested herein. The

authority to honor unpaid, prepetition Critical Vendor Claims in the initial days of these Chapter

11 Cases, without disrupting the Debtors’ ongoing operations, will maintain the integrity of the

Debtors’ businesses and allow the Debtors to efficiently administer these Chapter 11 Cases and

maximize the value of their estates.

       23.     The resulting harm to the Debtors’ estates far outweighs the costs associated with

paying the Debtors’ prepetition obligations to the Critical Vendors. Thus, the Debtors’ other

creditors will be no worse off, and likely fare better, if the Debtors are empowered to negotiate

such payments to achieve a smooth transition into chapter 11 with minimal disruptions.

       24.     Finally, the Debtors anticipate that the Critical Vendor Claims would be payable in

full, to the extent allowed, upon the Debtors’ emergence from these Chapter 11 Cases upon the

occurrence of the Effective Date of the Plan—therefore, the relief requested in this Motion simply

accelerates the timing of payment for the vendors that are critical to the Debtors’ continued

operations in chapter 11. As such, the Debtors believe the relief sought in this Motion will not



                                                  10
       Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 11 of 15




burden the Debtors but will help maximize the value of their estates. Accordingly, for the reasons

set forth herein, the Court should authorize the Debtors to satisfy the Critical Vendor Claims.

II.    The Court Should Authorize the Payment of the Critical Vendor Claims.

       25.     Allowing the Debtors to pay the Critical Vendor Claims pursuant to all or some of

the above-referenced Bankruptcy Code provisions is especially appropriate where, as here, doing

so is consistent with the “two recognized policies” of chapter 11 of the Bankruptcy Code—

preserving going concern value and maximizing the value of property available to satisfy creditors.

See Bank of Am. Nat’l Trust & Savs. Ass’n v. 203 N. LaSalle St. P’Ship, 526 U.S. 434, 453 (1999).

Here, payment of prepetition claims of certain essential vendors is, in fact, both critical to the

Debtors’ ability to preserve any value and maximize creditor recovery.

       26.     The Debtors depend on the provision of services by the Critical Vendors. Ensuring

these Critical Vendors continue to provide services is therefore vital to the ability of the Debtors

to maximize the value of their estates. For the reasons set forth herein, it is appropriate for the

Court to authorize the Debtors to satisfy the Critical Vendor Claims.

                                    Emergency Consideration

       27.     The Debtors request emergency consideration of this Motion pursuant to

Bankruptcy Rule 6003 and Bankruptcy Local Rule 9013-1, which empower a court to grant relief

within the first 21 days after the commencement of a chapter 11 case when that relief is necessary

to avoid immediate and irreparable harm to the estate. An immediate and orderly transition into

chapter 11 is critical to the viability of the Debtors’ operations and any delay in granting the relief

requested could hinder their operations and cause irreparable harm. The failure to receive the

requested relief during the first 21 days of these Chapter 11 Cases could severely disrupt the

Debtors’ operations at this critical juncture and imperil the Debtors’ restructuring. Accordingly,



                                                  11
         Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 12 of 15




the Debtors request that the Court approve the relief requested in this Motion on an emergency

basis.

                        Waiver of Bankruptcy Rules 6004(a) and 6004(h)

         28.    To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                       Reservation of Rights

         29.    Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for or validity of any

claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy law;

(b) a waiver of the Debtors’, or any other party in interest’s, right to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Motion or any order granting the relief

requested by this Motion or a finding that any particular claim is an administrative expense claim

or other priority claim; (e) a request or authorization to assume, adopt or reject any agreement,

contract or lease pursuant to Bankruptcy Code section 365; (f) an admission as to the validity,

priority, enforceability or perfection of any lien on, security interest in or other encumbrance on

property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’, or any other party in

interest’s, rights under the Bankruptcy Code or any other applicable law; or (h) a concession by

the Debtors that any liens (contractual, common law, statutory or otherwise) that may be satisfied

pursuant to the relief requested in this Motion are valid, and the rights of all parties in interest are

expressly reserved to contest the extent, validity or perfection or to seek avoidance of all such

liens. If the Court grants the relief sought herein, any payment made pursuant to the Interim Order

                                                  12
       Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 13 of 15




or Final Order is not intended and should not be construed as an admission as to the validity of any

particular claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently

dispute such claim.

                                               Notice

       30.      The Debtors will provide notice of this Motion to: (a) the Office of the United

States Trustee for the Southern District of Texas; (b) the entities listed on the Debtors’ petitions as

holding the largest 30 unsecured claims (on a consolidated basis); (c) counsel to the Prepetition 1L

Agent; (d) counsel to the Prepetition 1.5L Notes Trustee; (e) counsel to the Prepetition 2L Notes

Trustee; (f) counsel to the Ad Hoc Group; (g) counsel to Atlas Securitized Products Holdings, L.P.

in its capacity as Administrative Agent; (h) counsel to Midtown Madison Management LLC as

Heights II Administrative Agent and Canada II Administrative Agent; (i) the United States

Attorney’s Office for the Southern District of Texas; (j) the Internal Revenue Service; (k) the

United States Securities and Exchange Commission; (l) the state attorneys general in the states

where the Debtors conduct their business operations; and (m) any party that has requested notice

pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, no further notice

is necessary.




                                                  13
       Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 14 of 15




       WHEREFORE, the Debtors respectfully request entry of interim and final orders,

substantially in the forms of the Interim Order and Final Order filed with this Motion, granting the

relief requested herein and granting such other relief as the Court deems just, proper, and equitable.

Dated: March 25, 2024
       Houston, Texas
                                            /s/ Sarah Link Schultz
                                            AKIN GUMP STRAUSS HAUER & FELD LLP
                                            Sarah Link Schultz (State Bar No. 24033047;
                                            S.D. Tex. 30555)
                                            Patrick Wu (State Bar No. 24117924;
                                            S.D. Tex. 3872088)
                                            2300 N. Field Street, Suite 1800
                                            Dallas, TX 75201-2481
                                            Telephone: (214) 969-2800
                                            Facsimile: (214) 969-4343
                                            Email: sschultz@akingump.com
                                                    pwu@akingump.com

                                            -and-

                                            Michael S. Stamer (pro hac vice pending)
                                            Anna Kordas (pro hac vice pending)
                                            Omid Rahnama (pro hac vice pending)
                                            One Bryant Park
                                            New York, NY 10036-6745
                                            Telephone: (212) 872-1000
                                            Facsimile: (212) 872-1002
                                            Email: mstamer@akingump.com
                                                   akordas@akingump.com
                                                   orahnama@akingump.com

                                            Proposed Counsel to the Debtors




                                                 14
       Case 24-90165 Document 12 Filed in TXSB on 03/25/24 Page 15 of 15




                                     Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                               /s/ Sarah Link Schultz
                                                               Sarah Link Schultz


                                      Certificate of Service

        I certify that on March 25, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                                /s/ Sarah Link Schultz
                                                               Sarah Link Schultz
